Case 14-10979-CSS Doc 8917 Filed07/14/16 Page1of5

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., ef al,’ ) Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Re: D.I. 3641, 3801, 4019, 4646, 5088, 3879,
6146, 6561, 7587, 7965, 8035, 8110,
8262, 8576, 8706

Objection Deadline: July 28, 2016

ese” See ee et ee ee ee me Nee ee! ne ee”

FIFTEENTH NOTICE OF KPMG DEBTORS’ ENTRY INTO
AN ADDITIONAL AGREEMENT WITH KPMG LLP

Energy Future Competitive Holdings Company LLC (“EFCH”), Texas
Competitive Electric Holdings Company LLC (“ICEH”), the direct and _ indirect
Debtor-subsidiaries of EFCH and TCEH, and EFH Corporate Services Company (“EFH

Corporate Services” and together with EFCH, TCEH, and their direct and indirect

Debtor-subsidiaries, the “KPMG Debtors”), hereby submit this notice (the “Notice”) of the
KPMG Debtors’ entry into Additional Agreements (as defined below) with KPMG LLP
(“KPMG”), pursuant to the terms and conditions set forth in the Order Granting the Motion of
Energy Future Holdings Corp., et al., for Entry of an Order Authorizing KPMG Debtors and
KPMG Debtors in Possession to Submit Additional Agreements That Expand the Retention and

Employment of KPMG LLP As Bankruptcy Accounting, Tax, and IT Advisors, entered by the

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided herein.
A complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.efhcaseinfo.com.

RLF1 [4817893yv.1
Case 14-10979-CSS Doc 8917 Filed 07/14/16 Page 2of5

United States Bankruptcy Court for the District of Delaware (the “Court”) on February 24, 2015

[D.I. 3641] (the “Retention Protocol Order”).” In connection with this Notice, the above-

captioned debtors and debtors in possession (collectively, the “Debtors”) state as follows:

1. On May 29, 2014, the Debtors filed the Application of Energy Future
Holdings, et al., for Entry of an Order Authorizing the Debtors to Retain and Employ KPMG
LLP as Bankruptcy Accounting and Tax Advisors Effective Nunc Pro Tune to the Petition Date

[D.I. 652] (as supplemented by D.I. 1968, the “Retention Application”).

2. Submitted with the Retention Application and attached thereto as
Exhibit B, the Debtors filed the Declaration of Thomas D. Bibby in Support of the Application of
Energy Future Holdings, et al., for Entry of an Order Authorizing the Debtors to Retain and
Employ KPMG LLP as Bankruptcy Accounting and Tax Advisors Effective Nunc Pro Tune to the
Petition Date [D.I. 652] (the “Declaration”). The Declaration was supplemented from time to .
time by DI. 1969, 2038, 2893, 3847, 7821.

3, On September 16, 2014, the Court entered its Order Authorizing the
Debtors to Retain and Employ KPMG LLP as Bankruptcy Accounting and Tax Advisors

Effective Nunc Pro Tunc to the Petition Date [D.1. 2054} (the “Original Order”). Pursuant to the

Original Order, KPMG provides accounting, financial reporting, and tax advisory services as
KPMG and the KPMG Debtors deem appropriate and feasible in order to advise the KPMG
Debtors during the course of the KPMG Debtors’ chapter 11 cases.

4, On motion of the Debtors, dated November 25, 2014 (see D.I. 2892), on
December 17, 2014, the Court entered its Order Granting the Motion of Energy Future Holdings

Corp., et al, for Entry of an Order Authorizing the KPMG Debtors and KPMG Debtors in

* Any capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
such terms in the Retention Protocol Order.

2
RLF1 14817893v.1
Case 14-10979-CSS Doc 8917 Filed 07/14/16 Page 3o0f5

Possession to Expand the Retention and Employment of KPMG LLP as Bankruptcy Accounting
and Tax Advisors Effective Nunc Pro Tunc to August I, 2014 [D.L 3048] (the “Additional

Services Order”). Pursuant to the Additional Services Order, KPMG also provides IT services

necessary to maintain the KPMG Debtors’ technological infrastructure.

5. On February 4, 2015, the Debtors filed the Motion of Energy Future
Holdings Corp., et al, for Entry of an Order Authorizing the KPMG Debtors and KPMG
Debtors in Possession to Establish Procedures to Submit Additional Agreements That Expand
the Retention and Employment of KPMG LLP as Bankruptcy Accounting, Tax, and IT Advisors

[D.I. 3442] (the “Retention Protocol Motion”), Pursuant to the Retention Protocol Motion, the

Debtors sought entry of an order establishing procedures to submit additional agreements and

statements of work (the “Additional Agreements”) that expand the scope of the retention and

employment of KPMG as bankruptcy accounting, tax, and information technology advisors to
the KPMG Debtors.

6. On February 24, 2015, the Court entered the Retention Protocol Order.

7, The Retention Protocol Order provides that, to the extent the KPMG
Debtors and KPMG enter into any Additional Agreements, the Debtors shall file a Notice
(attaching such Additional Agreements) with the Court and serve the Notice upon the Notice
Parties,’

8. The KPMG Debtors and KPMG have entered into one Additional
Agreement. This Additional Agreement is attached hereto as Exhibit A. Pursuant to the terms

of the Retention Protocol Order, any objections to the Additional Agreement must be filed with

* The KPMG Debtors previously entered into Additional Agreements with KPMG pursuant to the
terms of the Retention Protocol Order. See D.I. 3801, 4019, 4646, 5088, 5879, 6146, 6561, 7587, 7965,
8035, 8110, 8262, 8576, 8706.

RLFI 14817893v.1
Case 14-10979-CSS Doc 8917 Filed07/14/16 Page 4of5

the Court and served so as to be actually received by the Debtors’ undersigned co-counsel no

later than July 28, 2016 (the “Objection Deadline”).

9, The Retention Protocol Order further provides that, if an objection is
properly filed and served on the KPMG Debtors’ counsel by the Objection Deadline, unless such
parties agree otherwise in writing, a hearing will be scheduled with the Court for no earlier than
fourteen (14) days after such objection is received by the KPMG Debtors’ counsel to consider
that objection. Finally, the Retention Protocol Order provides that for any Additional
Agreements where no objection is filed and served by the Objection Deadline, such Additional
Agreements are approved without need for any further action from the Court.

10. The Debtors shall cause this Notice to be served upon the Notice Parties

on the date hereof by U.S. first-class mail.

[Remainder of page intentionally left blank. |

RLF] 14817893y.1
Case 14-10979-CSS Doc 8917 Filed07/14/16 Page5of5

Dated: July 14, 2016 oe ee

Wilmington, Delaware RICHA AYTON & FINGER, P.A.
Mark D. Collins (No. 2981)
Daniel J. DeFranceschi (No. 2732)
Jason M. Madron (No. 4431)
920 North King Street
Wilmington, Delaware 19801
Telephone: (302) 651-7700
Facsimile: (302) 651-7701

Email: collins@rlf.com
defranceschi@rlf.com
madron@rlf.com

-and-

KIRKLAND & ELLIS LLP

KIRKLAND & ELLIS INTERNATIONAL LLP
Edward O. Sassower, P.C. (admitted pro hac vice)
Stephen E, Hessler (admitted pro hac vice)

Brian E. Schartz (admitted pro hac vice)

601 Lexington Avenue

New York, New York 10022-4611

Telephone: (212) 446-4800

Facsimile: (212) 446-4900

Email: edward.sassower@kirkland.com
stephen. hessler@kirkland.com
brian.schartz@kirkland.com

-and-

James H.M. Sprayregen, P.C. (admitted pro hac vice)

Marc Kieselstein, P.C. (admitted pro hac vice)

Chad J. Husnick (admitted pro hac vice)

Steven N. Serajeddini (admitted pro hac vice)

300 North LaSalle

Chicago, Illinois 60654

Telephone: (312) 862-2000

Facsimile: (312) 862-2200

Email: james.sprayregen@kirkland.com
marc.kieselste@kirkland.com
chad.husnick@kirkland.com
steven.serajeddini@kirkland.com

Co-Counsel to the Debtors and Debtors in Possession

RLFI 14817893yv.1
